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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

 JOSHUA SOMOGYI, KELLY                      Case No. 1:17-cv-06546-RMB-JS
 WHYLE SOMOGYI and STEWART
 SIELEMAN, on behalf of themselves
 and all others similarly situated,
                                            CLASS ACTION
                    Plaintiffs,             JURY TRIAL DEMANDED
      v.

 FREEDOM MORTGAGE CORP.,

                    Defendant.


    ORDER GRANTING PLAINTIFFS’ MOTION FOR AN AWARD OF
     ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES AND
              PAYMENT OF SERVICE AWARDS

      This matter is before the Court on plaintiffs’1 “Motion for an Award of

Attorneys’ Fees, Reimbursement of Expenses, and Payment of Service Awards”

(the “Fee Motion”). There is no opposition to the motion. The Court held a Zoom

hearing on this matter on September 10, 2020 (the “Final Approval Hearing”) to

determine whether to grant this motion. The Court has considered the Fee Motion

and all other submissions and arguments in connection therewith, including the




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       Unless otherwise stated, all capitalized terms used herein are as defined in
the Stipulation and Agreement of Settlement filed with the Court on August 1,
2019 (Dkt. 89-4) (the “Settlement Agreement”). The Court intends to promptly
enter a comprehensive written Opinion setting forth in detail its reasons for
granting plaintiffs’ motion. The parties consented to the jurisdiction of this Court
to decide this motion. [Doc. No. 88].
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memorandum of law in support thereof, the Declaration of Lawrence J. Lederer,

Esquire, the declarations and other documents attached thereto, and all additional

papers and argument filed in connection therewith and during the Final Approval

Hearing and all other prior proceedings in this litigation. Adequate notice of the

Settlement and the Fee Motion having been given to the Settlement Class in

accordance with the Court’s Preliminary Approval Order preliminarily approving

the Settlement (Doc. No. 96), and the Court having considered all other papers and

proceedings in this matter, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED that plaintiffs’ motion is GRANTED.2 The Court hereby finds,

concludes and Orders as follows:

         1.      This Court has jurisdiction over the subject matter of the Action and

over all parties to the Action, including members of the Settlement Class.

         2.      Notice of the Fee Motion was provided to putative Settlement Class

Members in a reasonable manner, and such notice complies with Rule 23(h)(1) of

the FED. R. CIV. P. and the requirements of due process.

         3.      Settlement Class Members were timely and properly given the

opportunity to object to the Fee Motion in compliance with Rule 23(h)(2) of the

FED. R. CIV. P.

         4.      No Settlement Class Member objected to the Fee Motion.


2   The parties’ Settlement Agreement has been filed with the court. [Doc. No. 89-4].
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      5.     The Fee Motion is granted. Plaintiffs’ Counsel are hereby awarded a

total attorneys’ fee in the amount of $3,000,000, or approximately 31.58% of the

total $9.5 million gross Settlement Amount.

      6.     In addition, Plaintiffs’ Counsel are also awarded $61,198.75 total in

reimbursement of Litigation Expenses they incurred and disbursed in prosecuting

this litigation for the Settlement Class. The fees and expenses to be paid to

Plaintiffs’ Counsel shall not be disbursed any earlier than the settlement payments

to the Settlement Class.

      7.     In making this award of attorneys’ fees and expenses to be paid from

the Settlement, the Court has considered and found that:

             a.     The Settlement has created a non-reversionary settlement fund

of $9.5 million in cash and remedial relief for the benefit of the Settlement Class

pursuant to the terms of the Settlement Agreement and the Preliminary Approval

Order;

             b.     Settlement Class Members who timely submit valid Claim

Forms will benefit from the Settlement because of the efforts of Plaintiffs’

Counsel, and all Settlement Class Members will benefit automatically from the

corporate remedial relief that is also a material part of the Settlement;




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             c.    The fee sought by Plaintiffs’ Counsel is fair and reasonable in

the circumstances of this case and supported by Plaintiffs, and no objections from

any member of the Settlement Class has been received to the Fee Motion;

             d.    The Plaintiffs have each submitted sworn declarations in

support of the Settlement and the Fee Motion;

             e.    The notice mailed to putative Settlement Class Members stated

that Plaintiffs’ Counsel would seek attorneys’ fees of up to one-third of the

Settlement Amount, or $3,166,666.67 total, and reimbursement of up to $85,000 in

Litigation Expenses, and further directed Settlement Class Members to a website

on which the Fee Motion and other information concerning the Settlement was

accessible shortly after being filed with the Court, and no objections to the Fee

Motion were made as stated above;

             f.    This Action has been prosecuted with skill, perseverance, and

diligence as reflected by the Settlement achieved and the positive reception of the

Settlement by the Settlement Class;

             g.    The Action involved complex factual and legal issues that were

skillfully researched and developed by Plaintiffs’ Counsel, and vigorously disputed

by defendant Freedom Mortgage Corp. (“FMC”);

             h.    Had the Settlement not been achieved, a significant risk existed

that Settlement Class Members may have recovered significantly less than the


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Settlement reached or nothing from defendant FMC or that no class would be

certified by the Court;

             i.     Public policy considerations also support the requested fee in

that Plaintiffs’ Counsel undertook this litigation on a contingent basis, dedicating

significant resources to successfully prosecute this Action on behalf of the

Settlement Class; and

             j.     The amount of attorneys’ fees awarded and expenses

reimbursed is reasonable and appropriate to the specific circumstances of the

Action.

      8.     Plaintiffs Joshua Somogyi, Kelly Whyle Somogyi and Stewart

Sieleman are each awarded $5,000 payable from the Settlement Amount in view of

their participation and contributions to this litigation and representation of and

service to the Settlement Class.

      9.     There is no just reason for delay in the entry of this Order, and

immediate entry of this Order by the Clerk of Court is expressly directed pursuant

to Rule 54(b) of the Federal Rules of Civil Procedure.

      IT IS SO ORDERED.

 Dated: _________________,
         September 14      2020


                                         MAGISTRATE JUDGE JOEL SCHNEIDER



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